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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

CASE NO. 22-cr-00313-RM

UNITED STATES OF AMERICA,

                Plaintiff,

v.

JAREH SEBASTIAN DALKE,

                Defendant.


           UNOPPOSED MOTION TO BIFURCATE SENTENCING HEARING


        Mr. Jareh Sebastian Dalke (“Mr. Dalke”), by and through undersigned counsel, David

Kraut and Timothy P. O’Hara, Assistant Federal Public Defenders, hereby respectfully moves the

Court to conduct the sentencing hearing in this case in two stages. The parties have conferred

regarding this matter and the government does not oppose this request.

        The sentencing hearing in this case will necessarily involve discussion of both classified

and unclassified information. For example, Mr. Dalke intends to submit a classified expert report

in support of his sentencing request, to discuss the content of this report at sentencing, and to

address the nature and content of the classified information he attempted to transmit to an agent of

a foreign government. 1 Presumably, the government and Court will respond to these arguments.

These discussions cannot occur in a public setting. On the other hand, the parties will also address

the unclassified Presentence Report (“PSR”), the guideline range, and other unclassified matters.

These discussions should occur in open court.


1
 To the extent required by the Classified Information Procedures Act (“CIPA”), the defense provides notice
to the Court and government of its intent to provide the Court with classified information at Mr. Dalke’s
sentencing hearing. See 18 U.S.C. App. 3, § 5.
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          The Classified Information Procedures Act (“CIPA”) sets forth procedures relating to the

disclosure and use of classified information before and during trial, but does not directly address

sentencing procedures. See 18 U.S.C. App. 3, §§ 4 (discovery); 5 (defense disclosure in connection

with trial or pretrial proceeding); and 6 (procedure for trial or pretrial proceedings). However, the

need to prevent public disclosure of classified information during trial and pretrial procedures

applies equally to sentencing. To meet this need, Mr. Dalke proposes the following procedure.

          The hearing would occur in two phases: a classified phase, held in a non-public, secure

setting and attended only by Mr. Dalke and cleared personnel; and a non-classified phase, held in

open court and open to the public. Both would be transcribed, and the transcript of the classified

portion would remain under Level 4 Restriction (Court access only) 2 unless the District Court

specifically orders it to be disclosed to one or more approved recipient(s). Mr. Dalke defers to the

Court as to the timing of the two phases, but suggests holding the classified portion first, if only to

prevent repeated movement of Mr. Dalke and cleared security agents between non-public and

public locations.




2
    See D.C.Colo.LCr.R 47.1(b).
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                                   Respectfully submitted,

                                   VIRGINIA L. GRADY
                                   Federal Public Defender



                                   s/ David Kraut
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                                CERTIFICATE OF SERVICE


        I hereby certify that on February 26, 2024, I filed the foregoing Unopposed Motion to
Bifurcate Sentencing Hearing with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the following email addresses:

       Julia K. Martinez, Assistant United States Attorney
       Email: julia.martinez@usdoj.gov

       Jena R. Neuscheler, Assistant United States Attorney
       Email: jena.neuscheler@usdoj.gov

       Christina Clark, Assistant United States Attorney
       Email: christina.clark3@usdoj.gov

        I hereby certify that I have mailed or served the document or paper to the following
participant in the manner (mail, hand-delivery, etc.) indicated next to the participant’s name:

       Jareh Sebastian Dalke (via U.S. mail)

                                            s/ David Kraut
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